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                            UNITED STATES DISTRICT COURT
                                DISTRICT OF COLUMBIA


FRIENDS OF THE EARTH, et al.,
                                                         Case No. 21-cv-02317-RDM
                      Plaintiffs,

              v.

DEBRA A. HAALAND, et al.,

                      Defendants,

             and

STATE OF LOUISIANA,

                      Intervenor-Defendant.



                   PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT

       Pursuant to Federal Rule of Civil Procedure 56 and Local Civil Rule 7(h), Plaintiffs

Friends of the Earth, Healthy Gulf, Sierra Club, and Center for Biological Diversity (“Plaintiffs”)

respectfully move for entry of summary judgment in their favor on both counts of the Complaint

(Dkt. No. 1), declaring that Defendants Debra A. Haaland, Secretary of the Interior; Laura

Daniel-Davis, Assistant Secretary of the Interior for Land and Mineral Management; U.S.

Department of the Interior, and the Bureau of Ocean Energy Management (collectively,

“Defendants”) violated the National Environmental Policy Act and the Administrative Procedure

Act when taking final action to hold Lease Sale 257.

       Defendants’ decision to offer all available unleased acreage in the Gulf of Mexico for

sale to the oil and gas industry for bid was based on an unlawful assessment of the sale’s


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environmental effects that failed to take a hard look at the indirect climate impacts by using

arbitrary methodology to analyze the potential downstream greenhouse gas emissions that would

result from the sale. In addition, Defendants failed to prepare a supplemental environmental

impact statement taking into consideration significant new information which shows that climate

impacts from leasing are greater than the Bureau assumed, that drilling and production on leases

will take place in much deeper water, that leasing will have greater impacts on the critically-

endangered Rice’s whale, and that pipeline spill risks are greater than previously thought.

       Plaintiffs attach a Memorandum of Points and Authorities in support of this Motion for

Summary Judgment, and a Proposed Order.

       Respectfully submitted this 13th day of October, 2021.


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